Case 2:18-cr-20533-VAR-MKM ECF No. 1, PagelD.1 Filed 11/30/17 Page 1 of 6

 

AUSA: Matthew Roth Telephone: (313) 226-9186
AO 91 (Rev. 11/11} Criminal Complaint Task Force Officer: Jaclyn K.ocis-Maniaci Telephone: (313) 202-3640
UNITED STATES DISTRICT COURT
for the .

Eastern District of Michigan

United States of America

‘ Case: 2:17-mj-30649
MICHAEL HINDS . Assigned To : Unassigned
Assign. Date : 11/30/2017
Description: CMP USA V HINDS
(BG)

CRIMINAL COMPLAINT

T, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

On or about the date(s) of November 23, 2017 in the county of Wayne inthe
Eastern ~ District of Michigan the defendant(s) violated:
Code Section Offense Description
18 U.S.C. Section 924(c) Carrying a Firearm During and in Relation to a Drug Trafficking Offense
21 U.S.C. Section 841(a}(1} Possession of a Controlled Substance with Intent to Distribut
18 U.S.C. Section 922(g) _ Felon in Possession of a Firearm

This criminal complaint is based on these facts:
See attached affidavit.

Complainant's signature

Continued on the attached sheet. dl h ree
eSF ¥

Jaclyn Kocis-Maniaci, ATF Task Force Officer

 

Printed name and title
Sworn to before me and signed in my presence. { YY
I
- Date: 11/30/2017 Judge's signature
City and state:_ Detroit, Michigan | David R. Grand, United States Magistrate Judge

 

 

Printed name and title

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Case 2:18-cr-20533-VAR-MKM ECF No. 1, PagelD.2 Filed 11/30/17 Page 2 of 6

AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT

I, Task Force Officer Jaclyn Kocis-Maniaci, being first duly sworn,

hereby depose and state as follows:

I. INTRODUCTION AND AGENT BACKGROUND

1. lama police officer with the City of Detroit. I have been with
the Detroit Police Department since 2003. I became a Task Force Officer
with the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) in
January of 2017. |

2. I make this affidavit from personal knowledge based on my
participation in this investigation. The information comes from witnesses
interviewed by law enforcement, communications with others who have
personal knowledge of the events and circumstances described herein, and
information gained through my training and experience.

3. This affidavit is for the limited purpose of establishing
probable cause and does not contain all details or facts known to law

enforcement related to this investigation.

Il. PROBABLE CAUSE

4. The ATF is conducting a criminal investigation concerning

Michael HINDS (DOB XX/XX/1983), for violations of 18 U.S.C. § 922(2)(1)
Case 2:18-cr-20533-VAR-MKM ECF No. 1, PagelD.3 Filed 11/30/17 Page 3 of 6

(felon in possession of a firearm), 21 U.S.C. § 841(a)(1) (possession of a
controlled substance with intent to distribute), and 18 U.S.C. § 924(c),
(use and carrying of a firearm during or in relation to a drug trafficking
offense).

5. On November 23, 2017, Detroit Police Department Officers
were traveling in a marked traffic patrol car. During patrol, they observed
three occupants in a smoke filled vehicle, parked on the street, in front of
a vacant dwelling. Officers stopped to investigate.

6. The passenger was Michael HINDS. The officers approached
the car and observed HINDS in the process of rolling loose marijuana in a
white piece of folded up printer paper. HINDS informed the officers that

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he had a medical marijuana card. Officers informed HENES that he was
not transporting his marijuana correctly. The officers asked the occupants
to step out of the vehicle.

7. A-search of the vehicle revealed a cloth lunch bag on the front

HINDS oem OKT
passenger floorboard where HINES was sitting. Inside the lunch bag were
the following items:

a. Numerous knotted plastic sandwich bags of crack

cocaine;
Case 2:18-cr-20533-VAR-MKM ECF No. 1, PagelD.4 Filed 11/30/17 Page 4 of 6

b. Heroin chunks;

c. Prescription vials containing loose marijuana;

d. Prescription vials that were empty;

e. One digital scale; and

f. One Crown City Arms, model 1911, .45 caliber pistol,
serial number R05518.

8. HINDS admitted that everything in the lunch bag was his and
that the other occupants did not have anything to do with the items
recovered from the lunch bag.

9. On November 24, 2017, a computerized criminal history check
showed that HINDS has the following felony convictions:

a. 2002 - armed robbery, 3rd Circuit Court, Detroit,
Michigan; |

b. 2016 - delivery / manufacturing a controlled substance,
16th Circuit Court, Mt Clemens, Michigan;

C. 2016, delivery / manufacturing a controlled substance,
16 Circuit Court, Mt. Clemens, Michigan;

d. 2017 - delivery / manufacturing a controlled substance,

16 Circuit Court, Mt. Clemens, Michigan.
Case 2:18-cr-20533-VAR-MKM ECF No. 1, PagelD.5 Filed 11/30/17 Page 5 of 6

10. - On November 24, 2017, a State of Michigan Law Enforcement
Information Network (LEIN) query was conducted on the Crown City
Arms, model 1911, 45 pistol. Query results returned a record that this
firearm was reported stolen. |

11. On November 30, 2017, Special Agent David Salazar advised
Affiant, based upon the verbal descriptions provided, without physically
examining the firearm, that the referenced firearm is a firearm as defined
under 18 U.S.C. § 921, and was manufactured outside of the state of
Michigan after 1989, and therefore had traveled in and affected interstate

commerce,

lil, CONCLUSION
12. Probable cause exists that Michael HINDS, a convicted felon,

did knowingly possess a firearm that had previously traveled in interstate

and/or foreign commerce, in violation of 18 U.S.C. § 922(g)(1). Additionally,
Case 2:18-cr-20533-VAR-MKM ECF No. 1, PagelD.6 Filed 11/30/17 Page 6 of 6

HINDS violated 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 924(c) by possessing
controlled substances with intent to distribute and carrying a firearm

during or in relation to a drug trafficking offense.

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J aclyn Kocis-Maniaci, Task Force Officer
Bureau of Alcohol, Tobacco, Firearms and

Explosives

Sworn to and subscribed before me
This 30th day of November, 2017.

NAA

HON._DAVID R. GRAND
UNITED STATES MAGISTRATE JUDGE

 
